                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION
UNITED STATES OF AMERICA,                          )
                                                   )
                             Plaintiff,            )
                                                   )
v.                                                 ) No. 09-0296-05-CR-W-FJG
                                                   )
STEVE LARSON,                                      )
                                                   )
                             Defendant.            )

                                          ORDER

       Currently pending before the Court is defendant’s Motion in Limine requesting

that the Prosecution not mention that defendant Larson was aware of “hits” performed

by another club member (Doc. # 116).

       Defendant Larson states that the Government has endorsed a witness from

Minnesota named Paulson. Defendant Larson is alleged to have been a member of

one of the Minnesota clubs and supposedly knows Paulson. During an interview with

Paulson, he said that Larson told him that another club member was a “hitter” and had

performed hits for the club on five different occasions. In response, the Government

states that it does not intend to introduce this evidence at trial as it is not relevant to the

conspiracy to distribute illegal narcotics. Accordingly, the Court hereby GRANTS

defendant’s Motion in Limine on this point (Doc. # 116).

       Defendant Larson also filed a Motion in Limine to Preclude the Testimony of

Defective Jeff Seever as an Expert on the Manufacture of Methamphetamine (Doc. #

115). In response the Government states that it does not intend to introduce such

evidence through Officer Seever or any other witness. Accordingly, the defendant’s



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Motion in Limine on this issue is hereby GRANTED (Doc. # 115).

       Defendant Larson also filed a Motion in Limine to Disallow the Testimony of

Detective Steve Cook (Doc. # 103). Larson moves to limit Detective Cook’s testimony

as it involves his opinion as to the history and alleged general criminal propensities,

activities, practices, and rituals of persons who belong to outlaw motorcycle clubs.

Larson argues that in the case United States v. John P. Street, 548 F.3d 618 (8th Cir.

2008), Detective Cook testified regarding the history and general nature of the outlaw

motorcycle clubs. The Eighth Circuit Court of Appeals in reversing that case

characterized Detective Cook’s testimony as “excessive” and “unduly prejudicial.”

Larson believes that the Government will try to offer this type of evidence in the instant

case and thus seeks to have it excluded. The Government states that it intends to

introduce only those activities, practices and rituals of the Galloping Goose and El

Forastero motorcycle clubs that relate to the charged drug conspiracy. The Government

states that it will not introduce evidence of the history of motorcycle gangs or their

general propensities to engage in certain types of behaviors or to argue guilt by

association. The Government argues that direct evidence and res gestae evidence will

establish that illegal drug use and distribution was prevalent, tolerated, enabled,

protected and encouraged by these two clubs and by the members. Limited evidence

of the culture and the practices of the clubs will explain how the participants knew each

other, the requirements and how the members worked together to execute the

conspiracy. Through the testimony of former club members and law enforcement

officers, the government states it will introduce evidence of illegal drug use by the

defendants. The Government states that this evidence will be limited to the use and

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distribution by the defendants of the drugs that are charged in the conspiracy. In reply,

Larson states that he will dispute at trial that he was present at any club meeting where

there was an conspiratorial discussion regarding pooling money to purchase drugs for

the “runs.” He states that he will also deny that he ever carried or had available a “run

bag” for others to use or that he ever distributed methamphetamine to any other club

members or agreed to participate in a conspiracy to do so.

       In the Street case, the Eighth Circuit found that the admission of Detective

Cook’s testimony was improper because the defendant was not a member of a

motorcycle gang and had never sought membership in a motorcycle gang. Additionally,

there was no evidence that the gang was involved in any of Street’s activities and the

gang reputation evidence had no relation to the murder that Street was charged with.

However, In the Street case, the Eighth Circuit recognized that evidence regarding gang

membership can be admissible under certain circumstances. The Court noted that in

three other cases, “evidence of gang membership was allowed because it was relevant

to establish conspiracy or to rebut codefendants’ innocent explanations of their

relationships with one another. United States v. Bradford, 246 F.3d 1107, 1117 (8th Cir.

2001), overruled on other grounds by, United States v. Diaz, 296 F.3d 680 (8th Cir.

2002); United States v. Johnson, 28 F.3d 1487, 1497-98 (8th Cir. 1994); United States v.

Sparks, 949 F.2d 1023, 1026 (8th Cir. 1991).” Id. at 632. The Court also noted that in

United States v. Mills, 704 F.2d 1553, 1559 (11th Cir. 1983), cert. denied, 467 U.S.

1243 (1984), evidence regarding the internal workings of the Aryan Brotherhood was

allowed to show how the members could communicate with each other despite being

jailed in separate facilities. The Court in that case found the evidence admissible

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because it was an “integral and natural” part of the crime. Id. at 1559. Similarly, in the

instant case, the Court finds the Street case distinguishable. There is no dispute that

Larson was a member of one of the motorcycle clubs in Kansas City, Missouri and that

he subsequently transferred his membership to a club in Minneapolis, Minnesota.

Additionally, the charges against Larson are directly related to his involvement and

membership in the motorcycle clubs. As long as Detective Cook’s testimony is focused

and limited to the activities of the clubs in Kansas City and the club to which defendant

Larson belonged in Minneapolis, Minnesota, the Court finds that Detective Cook’s

testimony is admissible. Accordingly, defendant’s Motion in Limine to Limit the

Testimony of Agent Cook about Motorcycle Gang Involvement is hereby DENIED (Doc.

# 103).




Date: 12/11/09                                   S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                            Fernando J. Gaitan, Jr.
                                                 Chief United States District Judge




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